Case 1:24-cv-04537-JSR Document 4 Filed 06/14/24 Page 1 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Southern District of New York

KEYBANK NATIONAL ASSOCIATION, succesor by
merger KEY EQUIPMENT FINANCE

Plaintiff(s)
Vv.

LD Tours,
and
MARK JOHNSON

Civil Action No. 1:24-cv-04537-JSR

Defendant(s)

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SUMMONS IN A CIVIL ACTION

Mark Johnson
2629 Youngdale Dr.
Las Vegas NV 89134

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: Dafney Dubuisson Stokes

Wongfleming P.C.
821 Alexander Road, Suite 200
Princeton, NJ 08540

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
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AO 440 (Rev, 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:24-cv-04537-JSR

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

was received by me on (date)

CI I personally served the summons on the individual at (place)

on (date) > or

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

C1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) > OF
CI I returned the summons unexecuted because ; or
(J Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
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Southern District of New York

KEYBANK NATIONAL ASSOCIATION, succesor by
merger KEY EQUIPMENT FINANCE

Plaintiffs)
Vv.

LD Tours,
and
MARK JOHNSON

Civil Action No. 1:24-cv-04537-JSR

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Defendant(s)

SUMMONS IN A CIVIL ACTION

LD TOURS, LLC
5404 Alpine PI.
Las Vegas, NV 89107

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
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whose name and address are: Datney Dubuisson Stokes

Wongfleming P.C.
821 Alexander Road, Suite 200
Princeton, NJ 08540

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Printed name and title

Server’s address

Additional information regarding attempted service, etc:
